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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNIVERSAL TRUCKLOAD, INC.       §
                                §
v.                              §
                                §                                 Civil No. 4:15-cv-01651
DALTON LOGISTICS, INC., HESS    §
CORPORATION, HELMERICH & PAYNE, §
INC., NABORS DRILLING USA, LP   §
FOUR SEASONS EQUIPMENT, INC.,   §
HALCON RESOURCES CORPORATION, §
APPLIED MACHINERYCORPORATION, §
AND GIANT PRIDECO, LP           §

                        DEFENDANT FOUR SEASONS EQUIPMENT, INC’S
                           ORIGINAL ANSWER & COUNTERCLAIM

       Defendant, Four Seasons Equipment, Inc., file this Original Answer to the Plaintiff

Universal Truckload, Inc.’s Original Complaint and Counterclaim, and respectfully states as

follows:

       1.      Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 1 of the complaint, but if an answer is deemed necessary, it is denied.

       2.      Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 2 of the complaint, but if an answer is deemed necessary, it is denied.

       3.      Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 3 of the complaint, but if an answer is deemed necessary, it is denied.

       4.      Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 4 of the complaint, but if an answer is deemed necessary, it is denied.

       5.      Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 5 of the complaint, but if an answer is deemed necessary, it is denied.
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        6.          Defendant admits the allegations in paragraph 6.

        7.          Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 7 of the complaint, but if an answer is deemed necessary, it is denied.

        8.          Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 8 of the complaint, but if an answer is deemed necessary, it is denied.

        9.          Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 9 of the complaint, but if an answer is deemed necessary, it is denied.

        10.         Defendant admits that this Court has subject matter jurisdiction over this lawsuit.

The Defendant does not know whether the additional information in paragraph 10 of the complaint

is true or false.

        11.         Defendant admits that venue is proper in this district and division. The Defendant

does not know whether the additional information in paragraph 11 of the complaint is true or false.

        12.         Defendant admits that this Court has personal jurisdiction over Defendants. The

Defendant does not know whether the additional information in paragraph 12 of the complaint is

true or false.

        13.         Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 13 of the complaint, but if an answer is deemed necessary, it is denied.

        14.         Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 14 of the complaint, but if an answer is deemed necessary, it is denied.

        15.         Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 15 of the complaint, other than the fact that this Defendant paid all sums

due and owing to Dalton, but if an answer is deemed necessary for the remainder of the allegations,

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they are denied.

       16.     Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 16 of the complaint, but if an answer is deemed necessary, it is denied.

       17.     Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 17 of the complaint, but if an answer is deemed necessary, it is denied.

       18.     Defendant denies the allegations in paragraph 18 of the complaint.

       19.     No response is required to the allegations in paragraph 19 of the company, but if an

answer is deemed necessary, it is denied.

       20.     Defendant denies the allegations in paragraph 20 of the complaint.

       21.     Defendant denies the allegations in paragraph 21 of the complaint.

       22.     Defendant denies the allegations in paragraph 22 of the complaint.

       23.     Defendant denies the allegations in paragraph 19 of the complaint.

       20.     Defendant denies the allegations in paragraph 20 of the complaint.

       21.     No response is required to the allegations in paragraph 21, but if an answer is

deemed necessary, it is denied.

       22.     Defendant denies the allegations in paragraph 22 of the complaint.

       23.     No response is required to the allegations in paragraph 23, but if an answer is

deemed necessary, it is denied.

       24.     No response is required to the allegations in paragraph 24.

       25.     Defendant denies the allegations in paragraph 25 of the complaint.

       26.     Defendant denies the allegations in paragraph 26 of the complaint.

       27.     Defendant denies the allegations in paragraph 27 of the complaint.

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       28.     No response is required to the allegations in paragraph 28, but if an answer is

deemed necessary, it is denied.

       29.     Defendant denies the allegations in paragraph 29 of the complaint.

       30.     Defendant denies the allegations in paragraph 30 of the complaint. Specifically,

there was never an open account between Plaintiff and this Defendant that gave rise to the

establishment of a sworn account. Any account was that may have existed was between Plaintiff

and Dalton. There was never a contract between this Defendant and Plaintiff. This Defendant

never received any value for any services provided by Plaintiff. The contract between Dalton and

this Defendant was for the delivery of goods FOB Defendant’s yard.

       31.     Defendant lacks sufficient knowledge or information to determine the truth of the

allegations in paragraph 31 of the complaint, but if an answer is deemed necessary, it is denied.

       32.     No response is required to the allegations in paragraph 32, but if an answer is

deemed necessary, it is denied.

                                FIRST AFFIRMATIVE DEFENSE

         33.   Defendant is not liable to Plaintiff because of estoppel.

                              SECOND AFFIRMATIVE DEFENSE

         34.   Defendant will show that Plaintiff’s own acts or omissions caused or contributed to

its alleged injury. Upon information and belief, the Defendant Dalton contracted with Plaintiff

and was advised not to pay Plaintiff for the carrier charges. Any loss is directly attributable to the

Plaintiff’s own actions.

                               THIRD AFFIRMATIVE DEFENSE

       35.     Defendant will show that Plaintiff has failed to mitigate its alleged damages or

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losses.

                              FOURTH AFFIRMATIVE DEFENSE

          36.   Defendant will show that Plaintiff has no transportation contract with this

Defendant and its contract with Dalton provided for a sale of machinery FOB Defendant’s yard.

                                FIFTH AFFIRMATIVE DEFENSE

          37.   Defendant will show that Plaintiff has an express contract with Dalton that

precludes any claim based upon quasi contract.

                               SIXTH AFFIRMATIVE DEFENSE

          38.   Defendant will show that Plaintiff has unclean hands. See attached Exhibit A,

which is incorporated herein as if fully recited verbatim. Plaintiff threatened to charge a penalty

in the event that this Defendant did not capitulate to its demand.

                                        COUNTERCLAIM

          35.   Defendant, now as Counter-Plaintiff, seeks a declaration of its rights against

Plaintiff, as Counter-Defendant, with said declaration being that Counter-Plaintiff has no liability

in contract, upon a sworn account, or in quasi contract to Counter-Defendant. Counter-Plaintiff

prays for judgment and for judgment and for an award of reimbursement of all costs and attorney’s

fees as allowed by the Declaratory Judgments Act.          All conditions precedent to Counter-

Plaintiff’s right to recover have been performed or have occurred.

           WHEREFORE, the Defendant requests that the Plaintiff's Complaint be dismissed with

prejudice; and that Defendant have judgment on its claims against the Plaintiff; and that the

Defendant be awarded its attorney fees and costs of this action and all other relief at law or in

equity to which it may be entitled.

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                                                    Respectfully submitted,

                                                    MCCORMICK, LANZA & MCNEEL, LLP



                                            By:     /s/ Andrew P. McCormick
                                                    ANDREW P. McCORMICK
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                                                    State Bar No. 13457100
                                                    4950 Bissonnet Street
                                                    Bellaire, Texas 77401
                                                    (713) 523-0400

                                                    ATTORNEY FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of July, 2015, a true and correct copy of the above
and foregoing Original Answer of Defendants has been forwarded by electronic service through
the Court and/or facsimile to Ryan T. Hand, Lorance & Thompson, P.C., 2900 North Loop West,
Suite 500, Houston, TX 77009, and all other counsel of record.


                                                     /s/ Andrew P. McCormick
                                                    Andrew P. McCormick




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